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                        UNITED ST ATES DISTRICT COURT
                                                                                   MAY Of 2020
                        NORTHERN DISTRICT OF GEORGIA
                                                                              i::zs,~.HA__TTEN,     Clerk
                                                                                    ~ Deputy Clerk
IN RE: COURT OPERA TIO NS UNDER
THE EXIGENT CIRCUMSTANCES                              GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                          Second Amendment
CORONAVIRUS

                                           ORDER


        General Order 20-01 , dated March 16, 2020, as amended by Order dated March 30,

2020, addresses court operations for the United States District Court for the Northern

District of Georgia under the exigent circumstances created by the spread of COVID-19

and the related Coronavirus. The adverse condition giving rise to General Order 20-01 not

yet having sufficiently resolved for the Court to return to normal operations,

        IT IS THEREFORE ORDERED that Amended General Order 20-01 is amended

to extend the time periods specified therein through and including the date of May 29,

2020.

        IT IS FURTHER ORDERED that while there will be no civil or criminal jury

trials in any division of the Northern District of Georgia until after said date, and no grand

jury proceedings, summons may be issued prior to May 29, 2020, for jurors and grand

jurors for meetings and proceedings scheduled to begin after May 29, 2020.

        IT IS FURTHER ORDERED that the time period of any continuance entered as

        a result of this Order (whether that continuance causes a pre-indictment delay or a

        pre-trial delay) shall be excluded under the Speedy Trial Act, 18 U.S.C. §

        316 l(h)(7)(A), as the Court finds that the ends of justice served by taking that action
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      outweigh the interests of the parties and the public in a speedy trial. Absent further

      Order of the Court or any individual judge, the period of exclusion shall be from

      March 23 , 2020, through and including May 29, 2020. The Court may extend the

      period of exclusion as circumstances may warrant. This Order and period of

      exclusion are incorporated by reference as a specific finding under 18 U.S.C. §

      316l(h)(7)(A) in the record of each pending case where the Speedy Trial Act

      applies. See Zedner v. United States, 547 U.S. 489, 506-07 (2006). The period of

      exclusion in the Court's prior orders on this subject, General Order 20-01 and

      Amended Order 20-01 , are likewise incorporated by reference as a specific finding

      under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the

      Speedy Trial Act applies.

      IT IS THEREFORE ORDERED that Amended Order 20-01 is further amended

to extend the specified 30-day time periods contained therein through and including the

date of May 29, 2020.

      Dated this 3D     day of April 2020.



                                   THOMAS W. THRASH, JR.
                                   CHIEF UNITED STATES DISTRICT JUDGE




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